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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,

               Plaintiffs,                                  Case No. 25-cv-10676

                   v.                                       MOTION FOR ADMISSION
                                                            PRO HAC VICE
 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



       Pursuant to L.R. 83.5.3, Plaintiffs D.V.D., M.M., E.F.D., and O.C.G., through undersigned

counsel, move for the pro hac vice admission of attorney Inyoung Hwang of Human Rights First.

In support, Plaintiffs submit the declaration of Inyoung Hwang (Exhibit A). The declaration

certifies that the declarant is a member in good standing of the bars in each jurisdiction in which

she is admitted, is not the subject of any disciplinary proceedings, has never previously had a pro

hac vice admission to this Court revoked for misconduct, and has read and agrees to comply with

this Court’s local rules. See L.R. 83.5.3(b), (e)(3).
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Respectfully submitted,


/s/ Tomas Arango
Tomas Arango
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Dated: June 10, 2025




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                                   CERTIFICATE OF SERVICE
I, Tomas Arango, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: June 10, 2025

                                              /s/ Tomas Arango
                                              Tomas Arango




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